AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241 : i atm Le “i
ut fe mee APPIN

 

UNITED STATES DISTRICT ‘COURT —
for the
eng cot ay AM 7: 5°

DISTRICT OF MASSACHUSETTS |

 

DARRELL SELF

Petitioner

Vv.
WARDEN Spaulding

Case No.

 

(Supplied by Clerk of Court)

Federal Medical Center, Devens MA
. Respondent .
(name of ‘warden or authorized person having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

 

 

 

 

 

 

 

 

1. (a) Your full name: Darrell Self
~ (b) Other names you have used:
2... Place of confinement: .
a (a): Name of institution: ‘Federal Medical Center, Devens MA
(by Address: ee - 42 Patton Road,. Ayer MA, 01432
od - (©) Your identification number: 15728-049
Ben Are you currently being held on orders by: ,
i ‘Federal a authorities oO State authorities) Other - explain:
AS | xe you currently:

OA pretrial detainee (waiting for trial on criminal charges)
OServing a sentence (incar ceration, parole, probation, etc.) after having been convicted of a crime
| if Fyou are currently serving a sentence, provide: .
(ay Name and location of court that sentenced you:

 

 

-® Dooket number of criminal case:
: (c) Date of sentencing: -
CBeing held on an immigration charge
m ‘oO Other (explain): , ,

 

 

 

 

 

Decision or Action You Are Challenging

5. What are you challenging in this petition: .
OHow your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation ¢ or calculation of good time credits) :

Page 2 of 9
AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

(Pretrial detention
Cilmmmigration detention
OC Detainer

O The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)
O Disciplinary proceedings

& Other- explain): Prison conditions putsd me at significant risk

of contracting the covid_19 virus.

 

6. Provide more information about the decision or action you are challenging:
(a) Name‘and location of the agency or court: Federal Medical Devens MA

 

(b) Docket number, case number, or opinion number:
(c) Decision or action you are challenging (or disciplinary proceedings, specify the penalties imposed).

 

Failure to grant. compassionate release and transfer. me ‘to ~
Home_confinemnet .

 

(d) Date of the decision or action:

 

-” your Earlier Challenges.of the Decision or Action ..

7. ~ First appeal . ;
Did you appeal the decision, file a grievance, or seek an administrative remedy?
ClYes %3No :

~ (a) 1f“Yes,” provide:
— (1): Name of the authority, agency, or court:

 

 

~ (2) Date of filing: |
(3) Docket numiber, case number, or opinion number:

(4) Result,
(5) Date of result:

-" (6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not appeal: 1751] be futile exigent circimstaces

 

 

. 8. . Second appeal . .
“After the first appeal, did you file a second appeal to a higher authority, agency, or court?
' Yes © ° ONo

Page 3 of 9
AO 242 (Rev. 09/17) Petition fora Writ of Habeas Corpus Under 28 U.S.C. § 2241

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

 

 

(2) Date of filing:

 

(3) Docket number, case number, or opinion number:

(4) Result: |

 

 

(5) Date of result:

 

(6) Issues raised:

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you-did not file a second appeal:

 

 

 

 

9. Third appeal

After the second appeal, did you file a third appeal to a higher authority, agency, or court?

: Yes moe GNo
(a), lf “Yes,” provide:

 

(1) Name of the authority, agency, Or court:

 

(2) Date of filing:

 

(3) Docket number, case number, or opinion number:

(4). Result:

 

 

_ (5) Date of result:

 

 

 

 

(6) Issues raised:

 

 

 

 

 

 

oe (b) ‘If you answered “No,” explain why you did not file a third appeal:

 

 

 

© 10, Motion under 28 U.S.C. § 2255

In this petition, are you challenging the validity of your conviction or sentence as imposed? .

ayes | GNo
If “Yes,” answer the following:

i (a) Have. you already filed a motion under 28 U.S. C. § 2255 that challenged this conviction or sentence?

Yes No

Page 4 of 9
AO 242 (Rev. 09/17) Petition fora Writ of Habeas Corpus Under 28 US.C. § 2241

AL

-./ BYes

(b)

(6)

If “Yes,” provide:

(1} Name of court:
(2) Case number:

(3) Date of filing:
(4) Result:

(5) Date of result:
(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

 

Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to file a second or successive Section 2255 motion.to challenge this conviction or
sentence?

‘Yes CNo

If “Yes,” provide:
(1) Name of court:
(2) Case number:
(3) Date of filing:

 

 

 

 

 

(4) Result:

 

 

 

(5) Date of result:
(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

| Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your

conviction or sentence.

 

 

 

 

 

 

 

 

 

 

 

 

Appeals of immigration proceedings

Does this case concern immigration proceedings?.

@)
<b):
© 1

~ OYe No

_ OINo
1f “Yes,” provide: - Lo
‘Date you were taken into immigration custody:
Date of the removal or reinstatement order:
Did you file an appeal with the Board of Immigration Appeals?

 

 

Page Sof 9
AQ 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S C. § 2241

lf “Yes,” provide:
(1) Date of filing:
(2) Case number:
(3) Result:

(4) Date of result:
(5) ‘Issues raised:

 

 

 

 

 

 

 

 

 

 

(d)- Did you appeal the decision to the United States Court of Appeals?
0 Yes - ONo
lf “Ves,” provide:
(1) Name of court:
(2) Date of filing:
(3) Case number:
(4) Result:
(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

 

 

12. ‘Other appeais
a Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
on raised i in this petition?
Yes _ ONo

“If Yes," provide:
: | (a) Kind of petition, motion, or application:
oe () Name of the authority, agency, or court:

 

 

 

1. (ce) Date of filing:

- -(d) Docket riumber, case number, or opinion t number:
“(@) Result:

(f) ‘Date of result:

(g) Issues raised:

 

 

 

 

 

 

 

 

 

 

Page 6 of 9
AO 242 (Rev, 09/17) Petition fora Writ of Habeas Corpus Under 28 U.S.C. § 2241
Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE: The prison conditions are conducive to the spread of the
virus.

 

(a) Supporting facts (Be brief, Do not cite cases or law):

The Devens facility has confirmed one case_af COVID-19 virus

____We share commal shower(s) and toilets(s)

Inmates are unahje to social distance hecause of the prison layout
T have identified underlying medical conditians..

 

“(b) Did you present Ground One in all appeals that were available to you?
OoYes. . ‘No

 

>. GROUND TWO:

 

 

: (a) Supporting facts (Be brief. Do not cite cases or lerw.):

 

 

 

 

 

-... (db) Did you present Ground Two in all appeals that were available to you?
| Ove: CNo

 

GROUND THREE... _.

 

 

. (a) Supporting, facts (Be brief. Do not cite cases or law.):

 

 

 

nS. (b). Did you present Ground Three in all appeals that were available to you?
~GYeg ONO oe

Page 7 of 9
AO 242 (Rev 09/17) Petition for a’ Writ of Habeas Corpus Under 28 U.S.C. § 2241

GROUND FOUR:

 

 

 

(a) Supporting facts (Be brief Do not cite cases or law.}:

 

 

 

 

 

(b) Did you present Ground Four‘in al! appeals that were available to you?

OYes ONo
iq Tf there are any grounds that you did not present in all appeals that were available to you, explain why you did
not od Se TO

 

 

 

 

Request tor Retief
To be transferred to Home confinement

. 15. State exactly wit you want the court to do:
e with conditions

 

__). where Lwill sarye the remainder. of my sentenc
7 “approved by this court. — a

 

 

 

Page 8 of 9
AO 242 (Rev. oot?) Petition for a Writ of Habeas Corpus Under 2BUSC. § 2241

Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:

April 23, 2020 oe. : a cee een ne nts

 

| have read this petition or had it read to me, and the

| declare under penalty of perjury that I am the petitioner, ¢
d that a false statement of a material fact may. serve as the basis

information in this petition is true and correct. | understan

for prosecution for perjury.

Signature itioner 47

Date: April 23, 2020

 

 

Signature of Attorney or Olher authorized person, if any

   

 

 

Page 9 of 9
